Case 1:17-cr-20300-RNS Document 305 Entered on FLSD Docket 01/17/2018 Page 1 of 2



                               United States District Court
                                         for the
                               Southern DistrictofFlorida

   U nited States ofAm erica,
   Plaintiff

   V.                                         Crim inalCase No.17-20300-CR-Scola

   M ichaelM unday,
   D efendant.

                                    V E R D ICT FO R M

                 CountOne (conspiracy to com m it M ailFraud)
        W e, the Jury in the above-captioned case, unanim ously find the
   Defendant,M ICHAEL M UNDAY,as to Count 1 ofthe Indictm ent:

                      G UILW                    NOT GU ILW

                                Count Two (M ai1Fraud)
         W e,the Jury,unanim ously find the Defendant, M ICHAEL M U NDAY, as
   to Count 2 ofthe Indictm ent:

                      GUILW /                   NOTGUILW
                                Count Three (M ai1Fraud)
         W e, the Jury,unanim ously find the Defendant, M IC HAEL M U NDAY, as
   to Count 3 ofthe Indictm ent:

                      GUILW /                   NOTGUILW
                                count Four (M ailFraud)
         W e, the Jury,unanim ously find the Defendant, M IC HAEL M U NDAY, as
   to Count4 ofthe Indictm ent:

                      GUILW /                   NOTGUILW
e;   Case 1:17-cr-20300-RNS Document 305 Entered on FLSD Docket 01/17/2018 Page 2 of 2




                                  CountFive (M ailFraud)
              W e, the Jury,unanim ously find the Defendant, M ICHAEL M UNDAY, as
        to Count 5 ofthe Indictm ent:

                         GUILW /                 NOTGUILW
                                  Count Six (M ailFraud)
              W e,the Jury,unanim ously find the Defendant, M ICHAEL M U NDAY, as
        to Count 6 ofthe Indictm ent:

                         Gulu'rv /               NON          -   n

        Dated:January /7 ,2018
                                                 FO REP    SO N O F TH E JU RY


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                                                 FO REPERSO N'S JU RO R NU M BER
